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                   IN THE UNIT-ED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PETER SCHATZBERG, D.C., et al.                     CIVIL ACTION
    Plaintiffs
                                                   N0.10-2900
       v.

STATE FARM MUTUAL AUTOMOBILE:                                             FILED
INSURANCE COMPANY, et al.                                                 OCT 2 9 2015
     Defendants
                                                                        MICHAELE. KUNZ. CJ!krk
                                                                        By          Dep.w;
                                        ORDER

       AND NOW, this 29th day of October 2015, upon notification that all issues and claims

between the parties have been settled, it is hereby ORDERED that all claims between and

against all parties are DISMISSED with prejudice, pursuant to the agreement of the parties.

To conform to Local Rule of Civil Procedure 41.1 (b), the Clerk of Court is directed to enter

this Order and to mark this case CLOSED.

       It is further ORDERED that all outstanding motiOJ!S are DENIED as MOOT.



                                            BY THE COURT:
